Case 3:51-cv-01247-JO-SBC Document 1-1 Filed 01/25/51 PagelD.229 Page1of1

eovrsennyn ppeaea ses

PLAT

ox rhe

T5a49-o~

3/7 IS”

f
: i

SL L¢ or Secher (8, FAIS. Feo We
Sa LVMege Coun Ay , Cat ferrite

OF A DOr TAIT oF she Nor tls fal fF Vo4 03, 2B

,-
7

FV O.GO --~

BOL FE

L38.00 —--~ype--- / 22.07 ---- lero

SBF 30 7a VA FLA AT
©
%
X
~
Q
+
As
o
Q
2
SST GO WSF GS
VBI BE 30. E. 238.20 /
meesar et panet = : 3 a _ ome oe . I cp

=

B28. 82S

-@e' go £. S68 #5"

oS GR FBIBO NWS BB BFLSBE

220.09"

snncegranconreraste

SSS OT YT Se

NM. Of 4.2. FD. NM

220.00

~~ bec
5S oA

-~WVE corvrrar oF.

S$ 89°32) 30° W 6 IF. AZ”

The SE’ of

Secrrorr 7E.

emgage HS pn oni ‘ sre ware eh HG GORE om A 6 IN EY I Me NAME, BT NO AE or ero ona

porens:

See NEI ACE OS EN oe

SE

bp

Seale / 2 GO.

John C. Weeks , LS 2632

Saer., “AIS 7

PA, IHL, TA aE AR oat, ms oe REDE ANN tan Re SR In IMAI HES

wl

